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                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

                                                    )
              In The Matter of                      )
                                                    )
                                                    )
                                                    )
        KALYANI KANNAIAH                                ORDER RE: CJA APPOINTMENT
        MOKKAPATI,                                  )   OF AND AUTHORITY TO PAY
                                                    )   COURT APPOINTED COUNSEL
                 Juror.                             )
                                                    )
                                                    )



         The individual named above as juror, having testified under oath or having

otherwise satisfied this court that he or she (1) is financially unable to employ counsel and

(2) does not wish to waive counsel, and, because the interests of justice so require, the Court

finds that the individual is indigent, therefore;

         IT IS ORDERED that the attorney whose name and contact information are listed below

is appointed to represent the above juror.

                            Martha Ann Boersch
                            1611 Telegraph Ave #806
                            Oakland, CA 94612
                            (415)217-3700
                            Martha@boersch-illovsky.com




                                           Appointing Judge: Hon. Judge William Alsup



                                       5/26/2022                      5/31/2022
                                       Date of Order                Nunc Pro Tunc Date
